'o: Page 2 of 3 2019-02-05 11:35:50 EST 12022635275 Frorn: Brl'an Netter
_ l;(\Ja_se'1:16-cV-06525-F>KC-.]LC Document 256 Filed 02/11/19 Page 1 of 3

I\/IAYER* BROWN

Mayer Brown LLF‘
1999 K Streel, N.W.
Washin§lon, D.C. 20[)[}6-1101

Main Tel +1 202 263 3000
Main FaX +1 202 283 3300

F€-bl`tl£ll‘y 5, 2019 ' nww.mayezhmwn.com

BY FACSIMILE Brian D. Netter

` Dil‘ecl'l'e! +‘I 202 253 3339

. _, D' lF 1 252 2"3 5 36

The Honora ble P. Kevin Castei {A_Q/ Va_/ lre;,,;;§maye,b,;w;m
United States District Court

Southern District of New York
500 Pearl Street
New York, New Yorlr 10007

Cunningham v. Cornell_ Universi§g,
No. l:16-cv-06525-PKC (S.D.N.Y.)

Dear Judge Castel:

 

In conjunction with the motions' 1n limine and motion for summary judgment the Coinell

fendants asked this Court to hold certain documents under seal on a provisional basis so that

o her parties and non-party Witnesses could seek to demonstrate that the specified documents ought
to be maintained under seal on a more permanent basis, under the Lugoseh. standard Dl<t. 243.

Non-party Fidelity Managernent Trust Company (together with its affiliates, “Fidelity”)
has apprised the Corneli Defendants that it believes that other documents, currently available on ©£
the public record, contain information that Fidelity considers confidential

P'idelity has asked the Comell Defendants to take steps to provisionaliy seal the following
documents pending Fidelity’s forthcoming motion to seal:

¢ Doc. #232 l Doc. #23 8-5
° Doc. #“233 ° DOc-. #239-1]
0 Doc. #2.35-4 ¢ Doc. #246~4
. .

one #237_3 Doc. #24@

`With respect to each of the above documents, Fidelity has identified redactions; the
Cornell Defendants can file redacted versions of the documents immediately or can make iinal,
redacted filings after the Court has assessed whether the Lttgosc}t factors have been satisfied Ini
either cnse, the Cornell De-fendants request that the above-listed documents be sealed from public
view. Because Fidelity only just discovered that this information had been filed on the public
docket, it has asked the Cornell Defendants to request a deadline of February 19, 2019, for
Fidelity to file a motion to seal that addresses all of the documents over which Fidelity asserts
confidentiality rI‘he Cornell Defendants have no objection to that timeline.

 

2019-02-05 11:35:50 EST 12022635275 From: Brian Netter

'o: Page 3 of 3
,C'ase’1116-cV-06525-PKC-.]LC Document 256 Filed 02/11/19 Page 2 of 3

Mayer Brown LLP

The Honorable P. Kevin Castel
February 5, 2019
Page 2-

This letter has been served via facsimile, pursuant to Paragraph I(A)(`ii) of Your Honor’ s
Individual Practices, because it "‘contains matters that a party asserts should be under seai.” All
parties and Fidelity Will receive service copies of this letter via e-maii.

Sincerely,

Brian D. Netter

 

Cc: Ali Parties (via email)
Brian D. Boyle. Counsel for Fidelity (via email, bboyle@ornrn.com)

 

Page1 or 3 2019-02-0511:35;50 ser 12022535275 r-‘rom: erisa Neeer
Case 1:16-cv-O6525-PKC-.]LC Document 256 Filed 02/11/19 Page 3 of 3

MAYER*BROWN

Mayer Brown i.LP
1999 K Street Northwest
Washinglcn, DC 20006-1011

Main phone: +1 202 263 3000
Main taxi +1 202 263 SSDD

Facsimile cover sheet \w='\v.marerbmwn.oom

Date: 2019-02-05 11:35:35 EST
To/Cornpany: Fax:
Hon. P. Kevin Castel, U.S. 12128057949

District Court for the
Southern District ci New
York

I\/EESSAGE:

Please see the attached letter.

 

 

Mayer Brovvn is a global services provider comprising legal practices that are separate entitics, including Tauil &
Chequcr Advogados, a Brazilian law partnership with which Mayer Brown is associatcd, (collectively the “Mayer
Brcwn Practices") and affiliated non-legal service providers, which provide consultancy services (the “Mayer Brown
Ccnsultancics”). The Mayer Brown Practices and Mayer Brown Consultancies are established in various jurisdictions
and may be a legal person cr a partnership Details of the individual Mayer Brown Practices and I\/,layer Brown
Cons'ultancies can be found in the Legai Notices section of our website.

t
i
i
1
l

 

 

